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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF RHODE ISLAND



     ALBERT L. GRAY, Administrator, et al.,
                     Plaintiffs,

                        vs.                                 C.A. No. 04-312L

     JEFFREY DERDERIAN, et al.,
                    Defendants.



     ESTATE OF JUDE B. HENAULT, et al.,
                     Plaintiffs,

                       vs.                                   C.A. No. 03-483L

     AMERICAN FOAM CORPORATION, et al.,
                    Defendants.


         PLAINTIFFS’1 ASSENTED-TO MOTION TO APPROVE “GOOD FAITH”
                             SETTLEMENT WITH
                    INSURANCE INSPECTION DEFENDANTS2
              IN ACCORDANCE WITH R.I.G.L. §§ 10-6-7 AND 10-6-8


             All Plaintiffs in the pending Station nightclub cases move this Court for

     an Order approving their gross settlement with the Insurance Inspection

     Defendants in the total amount of $262,500, as “good faith” settlements in


     1
      All Station Fire Plaintiffs in the cases of Gray, et al. v. Derderian, et al., C.A. No. 04-312L;
     Napolitano, et al. v. Derderian, et al., C.A. No. 06-080L; Passa, et al. v. Derderian, et al., C.A. No. 03-
     148L; Kingsley, et al. v. Derderian, et al., C.A. No. 03-208L; Guindon, et al. v. American Foam Corp.,
     et al., C.A. No. 03-335L and Guindon, et al. v. Derderian, et al., C.A. No. 07-366; Henault, et al. v.
     American Foam Corp., et al., C.A. No. 03-483L; Roderiques, et al. v. American Foam Corp., et al.,
     C.A. No. 04-026L; Sweet, et al. v. American Foam Corp., et al., C.A. No. 04-056L; Paskowski, et al. v.
     Derderian, et al., C.A. No. 05-002L; Kolasa v. American Foam Corp., et al., C.A. No. 05-070L; Long v.
     American Foam Corporation, C.A. No. 06-047L; Malagrino v. American Foam Corp., et al., C.A. No.
     06-002L; and Gonsalves v. Derderian, et al., C.A. No. 06-076L.
     2
       “Insurance Inspection Defendants” are Anchor Solutions Co., Inc., Essex Insurance Company, V.B.
     Gifford & Company, Inc., Gresham & Associates of R.I., Inc., Gresham & Associates of Rhode Island,
     Inc., Multi-State Inspections, Inc., High Caliber Inspections, Inc., Underwriters at Lloyds, London and
     Surplex Underwriters Inc.
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     accordance with §§ 10-6-7 and 10-6-8 of the Rhode Island General Laws, so as

     to extinguish all potential contribution claims by joint tortfeasors against them.

     The amounts being paid by each settling Insurance Inspection Defendant are as

     follows:

                   Anchor Solutions Company, Inc.                    $ 10,000.00

                   Essex Insurance Company                           $100,000.00

                   V.B. Gifford & Company, Inc.                      $   7,500.00

                   Gresham & Associates of R.I., Inc.                $ 10,000.00
                   Gresham & Associates of Rhode Island
                   Inc.

                                                                                 3
                   High Caliber Inspections, Inc.                    $     -0–

                   Multi-State Inspections, Inc.                     $     -0–

                   Surplex Underwriters Inc.                         $ 35,000.00

                   Underwriters at Lloyds, London                    $100,000.00

                                                      TOTAL:         $262,500.00

            In support of this Motion, Plaintiffs submit the accompanying Memo-

     randum of Law and Affidavit of John P. Barylick, the contents of which are

     incorporated by reference in this Motion.

            All Insurance Inspection Defendants assent to the instant Motion and

     have authorized their electronic signatures, below.




     3
       High Caliber Inspections, Inc. and Multi-State Inspections, Inc. lacked sufficient
     resources to contribute toward settlement. Appeals of judgments in their favor are,
     however, being dismissed as part of the global settlement with all Defendants.


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     Respectfully submitted,

     Plaintiffs #13d and e, #17 through #63,       Plaintiffs #13d and e, #17 through #63,
     inclusive, #133 through #190, inclusive,      inclusive, #133 through #190, inclusive,
     #225 through #233, inclusive, # 240, and      #225 through #233, inclusive, # 240, and
     #251 through #257, inclusive, and the         #251 through #257, inclusive, and the
     Napolitano plaintiffs,                        Napolitano plaintiffs,
     By their Attorneys,                           By their Attorney,

     /s/ Max Wistow___________________             /s/ Mark S. Mandell_________________
     /s/ John P. Barylick ________________         Mark S. Mandell, Esq. (#0502)
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     Plaintiffs #1 through #11, inclusive, #12b,   Plaintiffs #65b, #71 through #75, inclusive,
     #13a, b, and c, #14 through #16, inclusive,   #197 through #214, inclusive, #224; #234
     #80 through #132, inclusive, #222; #223,      through #237, inclusive, #260 through
     and #242 through #248, inclusive,             #262, inclusive, #265 and #266,
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     Plaintiffs #64, #65a, #66 through #68,        Plaintiffs #12a, #76 through #79, inclusive,
     inclusive, #192 through #195 inclusive, and   #215 through #221, inclusive, #238, #258,
     #241,                                         #259, #263, and #264,
     By their Attorney,                            By their Attorney,

     /s/ Stephen E. Breggia_______________         /s/ Steven A. Minicucci______________


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     By their Attorney,

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     Estate of Samuel A. Miceli, et al.,
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                                        CERTIFICATION

            I hereby certify that an exact copy of the within document was
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     States District Court for its distribution to all counsel of record and a copy
     was electronically mailed to pro se defendant on this 21st day of July, 2009.

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